                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                          ABINGDON DIVISION

 CHRISTOPHER EARL SNIPES,                          )
                                                   )
                                                   )
                   Plaintiff,                      )     Case No. 1:18CV00025
                                                   )
 v.                                                )     OPINION AND ORDER
                                                   )
 THE SOUTHWEST VIRGINIA                            )     By: James P. Jones
 REGIONAL JAIL AUTHORITY,                          )     United States District Judge
                                                   )
                                                   )
                   Defendant.                      )

       Rodney B. Rowlett, III, Shine & Rowlett, PLLC, Kingsport, Tennessee, and
 Gregory M. Stewart, Stewart Law Office, P.C., Norton, Virginia, for Plaintiff;
 Joseph A. Piasta and Lori J. Bentley, Johnson, Ayers & Matthews, P.L.C.,
 Roanoke, Virginia, for Defendant.

       The plaintiff in this action, Christopher Earl Snipes, asserts claims against

 defendant The Southwest Virginia Regional Jail Authority (“Jail Authority”), his

 former employer, alleging that the Jail Authority violated the Family Medical

 Leave Act (“FMLA”) by interfering with his FMLA rights and retaliating against

 him for exercising these rights. The Jail Authority has moved to dismiss Snipes’

 Complaint for failure to state a claim upon which relief can be granted. For the

 reasons that follow, I will grant the motion in part and deny it in part.




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                                         I.

       The Complaint alleges the following facts, which I must accept as true for

 the purpose of deciding the Motion to Dismiss.

       Snipes began working for the Jail Authority in 2005. Snipes supervised

 several other employees, received employee evaluations demonstrating that he was

 a commendable employee, and exceeded job performance criteria. Snipes was

 promoted to the rank of Lieutenant because he performed his duties skillfully and

 with distinction.

       In 2015, Snipes’ wife developed a medical condition that was ultimately

 diagnosed as Cacchi-Ricci disease. As a result, she underwent inpatient care and

 periods of continuous treatment by a healthcare provider, and she experienced

 periods of incapacity. In October 2015, she underwent a medical procedure, and

 Snipes took intermittent leave under the FMLA so he could assist her with daily

 activities. On March 14, 2016, Snipes’ wife underwent another medical procedure,

 and her physician completed a Certification of Healthcare Provider for Family

 Member’s Serious Health Condition regarding this procedure. The certification

 stated that Snipes’ wife would be incapacitated from March 14, 2016, to April 13,

 2016, and during this time, she would be unable to rise from a seated position

 without assistance, to lift heavy weights, to care for her children, to operate a

 motor vehicle, or to perform household duties. The certification was provided to


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 the Jail Authority on April 5, 2016. Snipes alleges that his supervisors “questioned

 his use of leave and exhibited hostility towards him which included but was not

 limited to statements that he needed to return to work.” Compl. ¶ 28, ECF No. 1.

       On April 26, 2016, Snipes received an Employee Performance Appraisal,

 which found that he “Meets Standards.” Id. at ¶ 18. The performance appraisal

 also rated his ability to interact with others and maintain a productive relationship

 as “distinguished,” which is the highest rating that can be given. Id. at ¶ 19.

 Further, the appraisal rated his leadership and staff relations as “commendable,”

 the second highest rating that can be given. Id. at ¶ 20.

       On May 31, 2016, the Jail Authority terminated Snipes’ employment. As

 grounds for his termination, the Jail Authority alleged that his “[l]eadership and

 support for staff is not acceptable.” Id. at ¶23. In particular, the Jail Authority

 alleged that on May 27, 2016, Snipes had acted inappropriately when he became

 upset with and belittled a subordinate. Snipes denies these allegations. Snipes had

 not been advised of any deficiencies in his leadership or support before his

 termination.

       Snipes’ Complaint alleges that the Jail Authority violated the FMLA when it

 terminated Snipes’ employment. In particular, the Complaint alleges that the Jail

 Authority violated the FMLA by interfering with Snipes’ use of FMLA-protected

 leave and by retaliating against Snipes for using FMLA-protected leave. The Jail


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 Authority moved to dismiss the Complaint pursuant to Federal Rule of Civil

 Procedure 12(b)(6). The Motion to Dismiss has been fully briefed and is now ripe

 for decision.1

                                           II.

       Federal pleading standards require that a complaint contain a “short and

 plain statement of the claim showing that the pleader is entitled to relief.” Fed. R.

 Civ. P. 8(a)(2). In order to survive a motion to dismiss, the complaint must “state[]

 a plausible claim for relief” that “permit[s] the court to infer more than the mere

 possibility of misconduct” based upon its “judicial experience and common sense.”

 Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). In evaluating a pleading, the court

 accepts as true all well-pled facts and construes those facts in the light most

 favorable to the plaintiff. Nemet Chevrolet, Ltd. v. Consumeraffairs.com, Inc., 591

 F.3d 250, 255 (4th Cir. 2009). However, “the tenet that a court must accept as true

 all of the allegations contained in a complaint is inapplicable to legal conclusions.”

 Iqbal, 556 U.S. at 678. “While legal conclusions can provide the framework of a

 complaint, they must be supported by factual allegations.” Id. at 679. A complaint

 does not need detailed factual allegations to survive a motion to dismiss; however,




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           I will dispense with oral argument because the facts and legal contentions are
 adequately presented in the materials before the court and argument would not
 significantly aid the decisional process.
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 it must have more than labels and conclusions or a recitation of the elements of the

 cause of action. Bell Atl. Corp. v. Twombly, 550 U.S. 554, 555 (2007).

                                         A.

       The Jail Authority moves to dismiss Snipes’ interference claim, arguing that

 the claim is not plausible because Snipes has not alleged that the Jail Authority

 denied his leave requests or that it limited or compromised the leave he took.

 Snipes counters that the Jail Authority interfered with his FMLA rights because its

 hostile comments had a chilling effect and would discourage employees from

 requesting FMLA leave. Snipes also alleges that the Jail Authority interfered with

 his FMLA rights when it terminated him, because he would plausibly have

 required additional FMLA leave in the future, but the termination prevented him

 from exercising this right.

       The FMLA makes it unlawful for any employer to “interfere with, restrain,

 or deny the exercise of or the attempt to exercise, any right provided under [the

 FMLA].” 29 U.S.C. § 2615(a)(1). To state a claim for FMLA interference,

 plaintiffs must show that (1) they were an eligible employee, (2) the defendant was

 an FMLA-defined employer, (3) they are entitled to leave under the statute, (4)

 they gave notice to the employer that they would take FMLA leave, and (5) the

 defendant denied their FMLA rights. Corbett v. Richmond Metro. Transp. Auth.,

 203 F. Supp. 3d 699, 709 (E.D. Va. 2016). Interference includes refusing to


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 authorize FMLA leave and discouraging an employee from taking FMLA leave.

 Rodriguez v. Reston Hosp. Ctr., LLC, No. 1:16-cv-623 (JCC/JFA), 2017 WL

 772348, at *4 (E.D. Va. Feb. 28, 2017). Plaintiffs must also allege prejudice as a

 result of the interference. Ragsdale v. Wolverine World Wide, Inc., 535 U.S. 81,

 89 (2002).

       An employer’s conduct may constitute interference with an employee’s

 FMLA rights if it would have a chilling effect and would discourage employees

 from exercising their FMLA rights. See Gordon v. United States Capitol Police,

 778 F.3d 158, 164–66 (D.C. Cir. 2015); Rodriguez, 2017 WL 772348, at *5.

 Snipes cites to both Gordon and Rodriguez in support of his argument that the Jail

 Authority’s actions interfered with his FMLA rights.

       In Gordon, the plaintiff requested pre-approval for a bank of FMLA leave

 pursuant to her employer’s leave policies, and her employer granted approval. 778

 F.3d at 160. The plaintiff was later told that an upper-level manager had said that

 he was ‘“mad”’ about FMLA requests generally, and he had vowed to ‘“find a

 problem”’ with the plaintiff’s request. Id. After the plaintiff obtained the bank of

 leave, but before she used it, her employer ordered her to take a ‘“fitness for duty

 examination,”’ and her employer told her that her FMLA leave request was the

 reason for the order. Id. When the plaintiff later requested to draw on her bank of

 FMLA leave, her manager ‘“became irate”’ and refused the request. Id. The


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 manager later granted the request. Id. The court found that the employer’s course

 of conduct would have a chilling effect on requests for FMLA leave, and thus it

 had a reasonable tendency to interfere with an employee’s exercise of FMLA

 rights. Id. at 165–66.

        In Rodriguez, the employer required the plaintiff to complete a ‘“return to

 work”’ plan after the plaintiff notified his employer that he could return from

 FMLA leave. 2017 WL 772348, at *2. The plaintiff alleged that this requirement

 was not typical at his workplace. Id. The employer also refused to extend one of

 the plaintiff’s work deadlines to account for his FMLA leave, and it terminated the

 plaintiff after he failed to meet the deadline. Id. at *2. The court found that this

 conduct provided sufficient facts to plausibly infer that the employer interfered

 with the plaintiff’s FMLA rights by discouraging employees from exercising their

 rights. Id. at *5.

        There are key distinctions between the case at issue and both Gordon and

 Rodriguez. In each of these cases, the plaintiffs alleged facts showing a change in

 their working conditions after they exercised their FMLA rights — Gordon had to

 take a “fitness for duty” examination that could have found her unfit for duty, and

 Rodriguez had to complete an atypical “return to work” plan. The employer

 conduct in both cases — making new demands of employees after they requested

 or took FMLA leave — makes it plausible that employees would be discouraged


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 from taking FMLA leave. Here, however, Snipes has not alleged any changes in

 his working conditions after he returned from his FMLA leave.

       In addition, Snipes has not alleged facts making it plausible that the Jail

 Authority’s hostile comments alone discouraged him or other employees from

 exercising their FMLA rights, nor has he alleged facts regarding his reaction to the

 Jail Authority’s alleged hostility or facts suggesting that other employees heard or

 knew of the hostility. Thus, Snipes has not submitted facts sufficient for the court

 to infer that the Jail Authority’s conduct interfered with his FMLA rights by

 discouraging him or other employees from exercising their rights.

       Snipes’ argument that the Jail Authority interfered with his FMLA rights

 when it terminated him also fails to allege facts sufficient to state a claim for relief.

 Employees who are terminated after taking FMLA leave and being reinstated to

 the same position from which they left do not satisfy the fifth element of a claim

 for interference. See Capps v. Mondelez Global, LLC, 847 F.3d 144, 155–56 (3d

 Cir. 2017). They have not been denied their FMLA rights; instead, they have

 received all of the benefits to which they are entitled. See id. In addition, Snipes

 has not alleged sufficient facts for the court to plausibly infer that his wife’s

 condition would require him to take additional leave. Snipes did not allege any

 facts about his wife’s prognosis or condition at the time he was terminated. Thus,

 Snipes has not alleged facts sufficient for the court to infer that the Jail Authority


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 interfered with his FMLA rights. Accordingly, I will grant the Motion to Dismiss

 as to Snipes’ interference claim.

                                           B.

       The Jail Authority also moves to dismiss Snipes’ retaliation claim, arguing

 that the claim is not plausible because he has not alleged facts showing a causal

 connection between his termination and his use of FMLA leave.                 The Jail

 Authority asserts that instead, the facts in the Complaint show that Snipes was

 terminated for misconduct and a failure of leadership. The Jail Authority argues

 that Snipes’ denial of this misconduct is a bare assertion, and thus the court need

 not accept it as true. In contrast, Snipes argues that his denial is a factual statement

 that the court must accept as true, and this fact supports a causal connection

 between his termination and his use of FMLA leave.

       The FMLA makes it unlawful for any employer to “discharge or in any other

 manner discriminate against any individual for opposing any practice made

 unlawful by [the FMLA].” 29 U.S.C. § 2615(a)(2). FMLA retaliation claims are

 analogous to discrimination claims brought under Title VII of the Civil Rights Act

 (“Title VII”). Laing v. Fed. Express Corp., 703 F.3d 713, 717 (4th Cir. 2013).

 Thus, a court will evaluate a plaintiff’s FMLA retaliation claim using Title VII

 standards. See id. At the motion to dismiss stage, the ordinary rules for assessing

 the sufficiency of a complaint apply.           See McCleary-Evans v. Md. Dep’t of


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 Transp., 780 F.3d 582, 584–85 (4th Cir. 2015). A plaintiff need not plead facts

 sufficient to make out a prima facie case of discrimination. See id. Instead, a

 plaintiff must allege facts sufficient to satisfy the elements of a FMLA cause of

 action. See id. at 585. Thus, employees must allege facts that permit the court to

 plausibly infer that their employer discharged or discriminated against them

 because they exercised their FMLA rights.

       A close temporal relationship between these two events is sufficient to

 establish causality at the motion to dismiss stage. Cf. Laing, 703 F.3d at 720

 (finding that the close temporal relationship between the plaintiff’s suspension on

 the morning of her return from FMLA leave and her termination within the month

 was sufficient to establish a prima facie case of causality at the summary judgment

 stage); Williams v. Cerberonics, Inc., 871 F.2d 452, 457 (4th Cir. 1989) (finding

 that the plaintiff’s proof that she was fired after her employer became aware that

 she had filed a Title VII discrimination charge was sufficient to establish a prima

 facie case of causality at the summary judgment stage).

       Snipes’ denial of the Jail Authority’s assertions of misconduct is a factual

 statement that the court must accept as true. Pursuant to Twombly, Snipes need not

 provide detailed factual allegations; he needs only to provide more than labels and

 conclusions. His denial of the Jail Authority’s factual assertion remains a factual

 assertion.


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       Taking this denial and the remaining facts in the Complaint as true, Snipes’

 allegations permit the court to plausibly infer that the Jail Authority terminated him

 because of his FMLA leave.           As alleged in the Complaint, Snipes was a

 distinguished employee who had not been advised of any deficiencies in his

 performance.     Snipes took a month of FMLA leave, and the Jail Authority

 questioned his use of leave, was hostile towards him, and stated that he needed to

 return to work. The month after Snipes returned from FMLA leave, the Jail

 Authority alleged that he belittled a subordinate, which Snipes denies, and it

 terminated him. Snipes had received a positive performance evaluation the month

 before he was terminated, and he had not been given any other feedback regarding

 his interactions with subordinates before his termination. Moreover, the temporal

 relationship between these events is sufficient to plausibly infer causality at the

 motion to dismiss stage. Accordingly, I will deny the Motion to Dismiss as to

 Snipes’ retaliation claim. 2




       2
          Of course, I hold only that Snipes’ retaliation claim alleges facts sufficient to
 survive a motion to dismiss. I make no prediction that it would survive a motion for
 summary judgment or that Snipes would prevail at trial.
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                                      III.

       For the foregoing reasons, the Motion to Dismiss, ECF No. 7, is GRANTED

 IN PART and DENIED IN PART.

       It is so ORDERED.

                                             ENTER: October 5, 2018

                                             /s/ James P. Jones
                                             United States District Judge




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